Case 1:07-cv-01205-LG-RHW Document 300-12 Filed 11/13/09 Page1of12

MEMORIAL HOSPITAL AT GULFPORT
CERTIFICATION BY CUSTODIAN OF MEDICAL RECORDS

STATE OF MISSISSIPPI

COUNTY OF HARRISON

The undersigned being duly sworn does state on oath as follows:

1. That she is the duly authorized custodian of the hospital medical records of
MEMORIAL HOSPITAL AT GULFPORT and has the authority to certify records.

2. That the within and annexed are true and correct copies of requested portions
from the medical records of MCBAY, GARY, DOB: 08/05/1976 as described in

the correspondence received for these records.
3. The within and annexed records were prepared either by the personnel of the
hospital or it's staff, physicians or by persons acting under the control either of

them, in the ordinary course of hospital business at or near the time of the act,
condition or event reported therein.

LL Lippi

Signature of Custodian

>
SWORN AND SUBSCRIBED before me, this re20 day » Meg IDI

NotaryRublic = ~~

MBSISSIPPi STATEWIDE NO tau

MY COMMISSION EXPIRES SEPT 8. -u;
MONDED THAL STEGALL NOTARY SERVICE

EXHIBIT

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Case 1:07-cv-01205-LG-RHW Document 300-12 Filed 11/13/09 Page 2of12

Fs P/T:ERT
MCBAY,GARY B 05311-00375 41/07/05 11/07/05 1
E R PHYSICIAN
GARY BRICE MCBAY NO INSURANCE
300 VZ COUNTY ROAD 3506
EDGEWOOD TX 75117-3466 04/29/09
CODE DESCRIPTION QTY
*#** 250 PHARMACY
11/07 002834 TETANUS -DIPHTHERIA TOXOIDS-TD 1 49,90
AREA TOTAL *** 49,90
*ee272 STERILE SUPPLY
11/907 013013 KIT URINE CULTURE CLEAN CATCH 1 48.50
AREA TOTAL *** 48.50
e**e 309 OTHER LABORATORY
11/07 075164 DRUG SCREEN-URINE RAPID (6 DRUGS} 1 500,60
AREA TOTAL *** 500.60
**e351 CT SCAN/HEAD
11/97 050017 CT BRAIN WITHOUT IV CONTRAST 1 1,693.50
1 7 050023 CT ORBIT/SELLA/P FOSSA/IAC W/O CX 1 1,693.50
AREA TOTAL *** 3,387.00
**#* 450 EMERGENCY ROOM
11/07 000100 INJECTION SQ/IM 1 33.60
11/07 060209 LEVEL VB-W DIAG TEST/ PROCEDURE 1 1,008.10
AREA TOTAL *** 1,041.70
k**e OB] PROFESSIONAL FEES E/R
11/97 069321 E&M LEVEL III 1 230.40
BREA TOTAL *** 230,40
TOTAL CHARGES 5,258.10
TOTAL PAYMENTS /ADJIUSTMENTS 0.00
5,258.10
0.00

5,258.10
p———~— —Case107-cy-01205-1G-RHW _ Dacument 300-12 __ Filed 11/13/09_ Page 30f12

“A PATIEN EGISTRATION
Momorial
MA PATIENT HAHE ROOM NG ACCOUNT NO
| 0000359017 MCBAY,GARY BRICE FC Ss - 06321-00375
rf  ADORESS cry STATE ZIP CODE
_-U09 STLVER CREEK DE SOTO TR 75115
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11/07/05] 1502 1 7T ERT ER 999 999 |IPHYSICIAN,E R
, | PATIENT PHONE BIRTHDATE AGE SEX ORIGIN | MARITAL REUGHON CHUACH PREFERENCE
([££972) 223-2083 reams 2 03 M 4/5 UAF_ | UNAFFILIATED
SPOUSES MAME NEAREST RELATIVE FELATIONSHIP PATIENT S MAIDEN AME
IN CASE OF EMERGENCY NOTIFY RELATIONSHIP ADDRESS cry STATE ZIP CODE
MCBAY, GARY FATHER 1109 STLVER CREEK DE SOTO
PRIMARY EMERGENCY PHONE ALT EMERGENCY PHONE PATIENT EMPLOVER
(972) 223-2083 SELF
ADORESS OF EMPLOYER cir STATE ZP CODE POE
" (OTHER EMPLOVER ADDRESS cry STATE OP CODE
MCBAY, GARY BRICE
GUARANTOR EMPLOYER PHONE GUARANTOR SOCIAL BEGURITY NO
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ALTERCATION ACCIDENT DATE THE
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| Cor ns ander / D (Ls} AB)
Prmapal Proceduro
All Other Procedures
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Consultation wun DATE 5/19/2009
ae LC) auwve DD ama CF aio
STATUS TRANSFER (AUTOPSY 0 YES O NO}

MHG#1460 (Rev 7795)
Case 1:07-cv-01205-LG-RHW Document 300-12 Filed 11/13/09 Page4of12

TH
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Ma

CONSENT FOR ADMISSION TO HOSPITAL AND MEDICAL TREATMENT
Gor rige ‘ite alve permission for such examination and treatment as the doctor(s) considers neceasary or advisable for the
care of MCMAT, GARY BRICE / {Patient's Name).

J

|. That examination and treatment may include x-rays, drawing blood, medical/surgical care, medicines, anesthesla, or other healing measures.

2. That unexpected situations may arise and | now give permission, in the event | am later unavailable or unable to consent, for the doctor{s) to do
what Is necessary to save the health, or fife, of the above patient. .

3, Hf lhe above named patient daliver a baby during this hospital stay, i give permission for such examination and treatment of that baby as the
doctar(s) considers n and a fa. .

4. The practice of medicine su is not an exact science. There are no qusrantess of success.

5, | have read and do understand this Consent. | have had a chance to ask questions. The MHG staff answered my questions.

0

tu

THER TERMS OF ADMISSION
ndera tend:

Memorial Hospital at Guifport will send me/the above named patient a bill. .
Each physician specialist who examines or treats me or the abova named patient will send a separate bill,
Physicians working in the Hospital Emergency Department are not employees of the hospital, Tey work for Emergency Care Specialists of
Mississippi, Ltd,, a separate organization which is an Indapendant contracter to Memoria! Hospital at Gulfport,
| am responsible for calling my insurance company before admission. The insurance company may reduce my benefits If I do not follow
rocedures. The hospital will contact the insurance company only as a courtesy.
jam ina Managed Care Plan requiring approval of ate cars physician (PCP}, the hospital will contact the PCP for instructions. My Insurer
eerie ey eee eee aie approvi cee Ey) De et ren ee or eto UC 2s for these services,
Memart cea not deny or delay teatment for any emergency medical condition in order to contact or 8 approval from my Insurance
company or any PCP.

WAIVER OF CLAIM FOR LOSS OR DAMAGE TO PERSONAL PROPERTY
1. | may place my personal property in the Hospital safe,

2, am bie for Joss of or damage to personal property that | do no}place in the Cen
i buch Magacl Dete Noy ‘a ¢ Time 3'04 Vv Ata [YW Date Ag apne
itness we Te £05- Signature of patient or person : ited to sign for patient

JTHORIZATION TO RELEASE INFORMATION TO INSURER & ASSIGNMENT

. give permission to tha Hospital to release medical information needed te process any claim related to this hospital stay agalnst any ef my Insurance
companies, Including automobiles or othar liability insurance companies. MHG can release this medical Information only to tha insurance eae
or any third party payor involved In this claim. Third party payors may be Medicara, Medicald, GHAMPUS, CHAMPVA, automobile or other liability
Insurance, or any worker competes pe This permission Is good for the time provided In. MHG's Health information Management Department
policy unless | deliver to the Hospital written notice of cancellation.

assign all Insurance benefits and ali third claims up to the amount owed tp Memorial Hospital at Guifport and to any physicians who provide
services to me or the above named patient. | direct third party payors to pay all benefits directly to MHG and these physicians,

| have giv et correct Information about my insurance or other beytefit status to the Hospital,
wPlon- pete NOY 6/2005 (a patfOV 6 2085
/ itted to sign for patient

Pf f Sho

Witness |

FINANCIAL AGREEMERT AND GUARANTY OF PAYMENT
In consideration of services rendered the above named patient, | unconditionally guarantee payment for services not covered by insurance or a
benefit while a patient in Memorial Hospital at Gulfport. | guarantee this ae withln 60 days of final billing. Hf 1 do not pay in full, within
that me, MHG may refer the bill to an attomay or collection a a if the bill [3 referred to an attomey, alther by MHG or by a collection agency, |
will be responsible lor attormeys’ fees of up to 39 1/356 In addition © the amount of the bill and legal interest from date 60 days after final Billing. |
understand that the Hospital has the right to examine credit bureau flies for financlal information on unpaid debts. MHG may Infonn any credit bureau
of any hos bili not paid within 60 days of final billing.
| have nd unde d this financial agreement, | have had a chance to’ask questions, The answered my questions. :
DateNOV N 5 2An5

pate NOV 9 6 2005 |

Relationship to Patient,

“Y
IF PATIENT IS UNABLE TO CONSENT TO THE FOREGOING OR IS A MINOR, COMPLETE THE FOLLOWING: .
PATIENT ISAMINOR ____ YEARS OF AGE / IS UNABLE TO CONSENT BECAUSE
Date /_/ Date /_/
Witness Person Pennitied to Sign for Patient
important Message from Medicare recaived:
Signature of Patlant Clork initials Date
PATIENT INFORMATION
pepnsent, for Admission MCBAY,GARY @RICE
4 parr tO Hasnital, ane 11/07/2005 MR 0000359017
(SLUUOL OG Medica! Treatment ORE
DOB-SaimearS 0831100375
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Case 1:07-cv-01205-LG-RHW Document 300-12

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Page 5 of 12

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RN at ” PIS

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i New Complaint Date: OCanied (Ambulanca | (Police (Spouse | (0/2 () Spine Board/C-Collar (Monitor
(3 Cail Back Time of Event: (Relative OBParent | (}Splini/dressing (} Other
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; Both 20/ Actual Estimate] @)No Symptoms (J In Foreign Country Recanily
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I1HUse-f]Yes (No

OTe Room# eS a at__#

Report to F
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Social History: Past Surgical History:
Lives - (Alona C)N.H. mily (J Homeless

ho Pore na ino = very
How long have you been in pain Laadig ee
Location(s) (Specify each slle}
(Sharp (J Stabbing 2 Shooting ming CJ Oull 7 Other
thi fA

What worsens pain?

What relieves pain?___ CZ,

Paln interferes with: [2fFunction Cleep QAppetita (J Other

Whal level of pain woutd be abla to tolerate (Ex. Wou ow you lo
sleep, perform ADLs, move post-op, etc.)

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Past Medical History: AG L ALLERGIES DONONE KNOWN

Famiy Patient Family Patien| ar Food, Medication, Lat

0 OAnthiitis og O)Hypertension Eee Tghe, lodina, Other Rash | Hives |Oysprea] N/V | Other
0 (Asthma 0 CJ) Lung Disease 1 Lhe)

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0 OCVA gd O)Bronchitis o- Whe * f =

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o oa oO C) Back Problems OReguiar Cfregutar [mentat Status Speech Reaplratory
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Patient Name Account # Date:
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DATE 5/19/2009

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Case 1:07-cv-01205-LG-RHW

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| HISTORY AND PHYSICAL Time: ,
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O Sprain & Fracture, Severe Bruises O Medications O Haad Inj (adull) O Fever O Back/Neck In) © Vomiting/Diarrhea © Common Cald/Viruses
a een Instruction O Reducing High Fever © Orthopedic Appliance O Head Inj (Child) O Eye inj O Wound Care/Animal Bite O Bums
DISCHARGE INSTRUCTIONS:
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Follow Up OD Maka an appointment 0 Follow-up Visil In O Have Suturas Removed in
to see your regular physician Emergency Department Days
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Aurse Signature — Patent Signature Brac

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DATE i 2009

PATIENT INFORMATION

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PHYSICIAN E R ce

MR 0000359017

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9531100375
Case 1:07-cv-01205-LG-RHW Document 300-12 Filed 11/13/09 Page 8 of12

** * * * MHG Cumulative Summary Hepon * * * * *

Patient: MCBAY, GARY BRICE Admit Loc: ERT Facility: ER Trauma
Age: 29Y Sex: M ** MEDICALR DISCHARGE REPORT **

DOB: *** PERMANENT REPORT - DO NOT DISCARD ***

MR#: 0000359017 Admit#: 0531100375 Dsch Date: 11/07/05
Admit Phys: PHYSICIAN, E R DE Order Phys: KILLEBREW, LARRY MD RuniD: Ri624489
Atiend Phys: KILLEBREW, LARAY MD Consult Phys: Reported: 11/10/05 03:11

Ake kA RRA TOXICOLOGY AkRAK ARK AK

11/07/05 REF RANGE UNITS
17:30

Amphet Negative Negative

Barb Negative Negative

Benzo Negative Negalive

Cannab Negative Negative

Cocalne Negative Negative

Opiate Negative Negative

Comment See Note’

‘Results are for medical / screening purposes onty. Confirmation testing by reference tab available if ordered within 48
hours..

Patient) MCBAY, GARY BRICE Page 1 of 1

Clinical { Pathology Laboratory * Memorial Hospilal at Gullporl * 4500 43ih Sireel * Gulfport. MS 39501
Phone, 228-575-2300 * Fax 228-575-2387

MHG Dent of Pathdoay P Saccoccia, Jr, MD ¢ Slonaker, MD M.u) Gandour, MD J Gausay, MD
PRINTED BY: s1h9337

* REET & ee eS ITOMIETIIOGY Ae eA KS
Case 1:07-cv-01205-LG-RHW__ Document 300-12 Filed 11/13/09 Page9of12
RADIOLOGY REPORT

MCBAY,GARY BRICE DOB : SaaS AGE: 29Y
MR# G0000359017 CI# 834729 ACCOUNT # 0531100375
“ "RV: ERT

TYPE: ERT LOC: ERT EXAM DATE: 11/07/05
ORD: KILLEBREW, LARRY MD ADM: PHYSICIAN,E R MD
ATT: PHYSICIAN,E R MD

Chk-in # Order Exam

834729 0001 50017 CT BRAIN WITHOUT IV CONTRAST

Ord Diag: trauma

CT BRAIN WITHOUT IV CONTRAST:
CLINICAL HISTORY PROVIDED: Altercation with head trauma.

Multiple sequential sections were obtained through the brain and
there is a large left temporoparietal scalp hematoma. There is no

associated fracture.
Brain attenuation is normal with no focal ischemic infarct, mass,

or hemorrhage. Ventricular system is normal and midline structures are
midline. There is no acute extraaxial fluid accumulation.
There is some mucosal thickening of the ethmoid air cells

bilaterally.

IMPRESSION:
THERE IS A RELATIVELY LARGE LEFT TEMPOROPARIETAL SCALP HEMATOMA OR

CONTUSION. THERE IS NO ASSOCIATED FRACTURE OR ACUTE INTRACRANIAL

ABNORMALITY.
THERE IS SOME MUCOSAL THICKENING OF THE ETHMOID AIR CELLS

LATERALLY.

/Read By/ MILTON R RAINES, M.D.

/Released By/ MILTON R RAINES, M.D. PRELIMINARY UNLESS RELEASED
11/07/05 2016

Typed By: SKY

Typed On: 11/07/05 1647

DRS. BARRETT, JUSTICE, TIPTON, DIAZ, MASSONY, LOVELL, RAINES, COREY,
LAWSON, STOREY, RADIOLOGISTS
FINAL Page :1

RADIOLOGY REPORT

PRINTED BY: s1h9337
DATE 5/19/2009
Case 1:07-cv-01205-LG-RHW___ Document 300-12 Filed 11/13/09 Page 10 of 12
RADIOLOGY REPORT

MCBAY, GARY BRICE DOB: ari AGE: 29Y
MR# GO000359017 CI# 834748 ACCOUNT # 0531100375

RV: ERT

TYPE: ERT LOC: ERT EXAM DATE: 11/07/05
ORD: KILLEBREW, LARRY MD ADM: PHYSICIAN,E R MD
ATT: PHYSICIAN,E R MD

Chk-in # Order Exam

834748 0003 50023 CT ORBIT/SELLA/P FOSSA/IAC W/O CX

Ord Diag: ALTERCATION

CT OF THE ORBITS:
CLINICAL HISTORY PROVIDED: Altercation. Orbital injury.

Multiple sequential sections were obtained through the orbits and
there is comminuted nasal bone fracture with deviation of the nasal
septum to the right posteriorly with spurring which is chronic in
appearance. I do not see a definite orbital fracture. There is mucosal
thickening ethmoid air cells bilaterally and frontal sinuses more on
right than left. There is also air within the soft tissues over the
anterior and lateral right maxillary sinus although no definite orbital
floor or sinus fractures are seen. There is soft tissue swelling over
the orbits and face bilaterally.

IMPRESSION:
COMMINUTED NASAL BONE FRACTURE. MUCOSAL THICKENING BILATERAL

ETHMOID AND FRONTAL SINUSES WHICH IS MORE PROMINENT ON RIGHT THAN THE
“BFT, PROBABLY RELATED TO TRAUMA AND MILD BLEEDING. SOFT TISSUE AIR

7ER THE RIGHT MAXILLARY SINUS BUT NO DEFINITE ORBITAL OR MAXILLARY
FRACTURE IS IDENTIFIED. PROMINENT DEVIATION OF THE NASAL SEPTUM APPEARS

CHRONIC.

/Read By/ MILTON R RAINES, M.D.

/Released By/ MILTON R RAINES, M.D. PRELIMINARY UNLESS RELEASED
11/07/05 2016

Typed By: SKY

Typed On: 11/07/05 1650

DRS. BARRETT, JUSTICE, TIPTON, DIAZ, MASSONY, LOVELL, RAINES, COREY,
LAWSON, STOREY, RADIOLOGISTS
FINAL Page :1l

RADIOLOGY REPORT

PRINTED BY: s1lh9337
DATE 5/19/2009
Case 1:07-cv-01205-LG-RHW Document 300-12

INTERDISCIPLINARY PATIENT/FAMILY

Filed 11/13/09 Page 11 of 12

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EDUCATION FLOW SHEET
INITIAL/ 7 7 “ PROVIDER SIGNATUR INTMALS PROVIDER SIGNATURE
HRM AhA SHE Po
MEHL NM fff
VV IV {7 WV
DOCUMENTATION LEGEND:
Topic
M - Medications P ~ Procedure D - Diet A- ADL FD) - Food/Drug Interaction
E - Equipment C - Consents DX - Diagnosis T - Treatment Other
Readiness to Learn.
Ability to Understand Verbal Instruction: VP - Poor. VA - Average VG - Good
Copnitively Abla to Understand: GP - Poor CA - Average CG - Good
Abllity to Understand Written Instruction: WP - Poor WA - Average WG - Good
Barriers to Learning _
P - Physical V - Visual C - Cognitive M - Motivation R - Religious
A - Reading L - Language CL - Cultural AR - Age Related E - Emotional
A- Auditory N - None
Who
Patlent F - Family 0 - Other
Learning Method Used
D - Demonstration TW - Video/TV/Audio W - Written GR - Group Work
P - Pamphlet Y - Varbal Instruction MED - Medication Instruction Sheet O - Other
Comprehension
1. Verbalized or demonstrated understanding. 4, Madical condition fimits understanding.
2. Not receptive/cooperative. 5.
3. Needs further Instruction. 6.

PREFERRED LEARNING METHOD:
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2051 [Rare 1202) Pope 1 of 2 The Aetlton Company

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Ar FROM DEFAULT Sent 11/og/o3 at 10:20:00 Boba 1

Filed 11/13/09 Page 12 of 12

"* * 71* MHG PATIENT INQUIRY Demand Repot *** * *

Patient’ MCBAY, GARY BRICE
Age: 29Y Sex: M DOB Sais
MR#: 0000359017

Admit Phys: PHYSICIAN, E R DE

Lec: ERT Facility: ER Trauma

** P| DEMAND REPORT **
Admit#: 0531100375
Order Phys: KILLEBREW, LARRY MD RuniD: R1621536

Atlend Phys: KILLEBREW, LARRY MD Consult Phys: Reported: 11/08/05 10:49

ey wee ee ee TOXICOLOGY erewe kee ee

REF RANGE UNITS

11/07/05

17:30
Amphet Negative Negative
Barb Negative Nagative
Benzo Negative Negative
Cannab Negative Negative
Cocaine Negative Negative
Opiate Negative Negative
Comment See Note!

*Resulls are for medical / Screening [purposes only. Confirmation testing by reference lab available if ordered within 48

hours

Clinical / Pathology Labd

MHG Dept. of Pathology.

rr

Page 1 of 4

ratory * Memorial Hospital at Gulfport * 4500 13th Street * Gulfport, MS 39501
Phone: 228-575-2300 * Fax: 228-575-2387

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